      Case 1:25-cv-00946-CKK           Document 130      Filed 06/06/25     Page 1 of 19



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


LEAGUE OF UNITED LATIN AMERICAN
CITIZENS, et al.,

                         Plaintiffs,
          v.
                                                   Civil Action No. 25-0946 (CKK)
EXECUTIVE OFFICE OF THE PRESIDENT,
et al.,

                         Defendants.



DEMOCRATIC NATIONAL COMMITTEE,
et al.,

                         Plaintiffs,
          v.
                                                   Civil Action No. 25-0952 (CKK)
DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                         Defendants.



LEAGUE OF WOMEN VOTERS
EDUCATION FUND, et al.,

                         Plaintiffs,
          v.
                                                   Civil Action No. 25-0955 (CKK)
DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                         Defendants.


  NONPARTISAN PLAINTIFFS’ OPPOSITION TO THE REPUBLICAN NATIONAL
                COMMITTEE’S MOTION TO INTERVENE

                                       BACKGROUND

       On March 25, 2025, President Trump issued Executive Order 14248 (“EO” or “Order”).

The Order violates the constitutionally mandated separation of powers by purporting to grant the


                                               1
       Case 1:25-cv-00946-CKK           Document 130         Filed 06/06/25      Page 2 of 19




President the power to dictate and change certain rules for Federal Elections. Because the EO

directed the independent, bipartisan Election Assistance Commission (“EAC”) to take certain

actions within 30 days, Order, § 2(a)(i)(A), the three sets of plaintiffs here filed their complaints

mere days after the Order issued.1

       This Court ordered the plaintiffs to confer on consolidation, and to file a motion to

consolidate as appropriate. The plaintiffs did so and moved to consolidate. Doc. 18 (Case No. 25-

cv-0952). The Court granted that request, issued detailed instructions on joint briefing, and then,

following a motion from the League and LULAC Plaintiffs (“Nonpartisan Plaintiffs”), modified

those instructions to allow the Democratic Party Plaintiffs and Nonpartisan Plaintiffs to file separate

briefs. Docs. 12, 30, and 31. All plaintiffs requested that their motions for preliminary injunctive

relief be briefed and decided on an expedited schedule. Doc. 30, at 3–5. Briefing on those motions

concluded on April 16, 2025, and a hearing was held on April 17, 2025. Doc. 88.

       On April 24, 2025, this Court granted a preliminary injunction as to Sections 2(a) and 2(d)

of the EO. Doc. 104 (PI Op.) at 3. The Court determined that both provisions were “issued ultra

vires and cannot lawfully be implemented.” Id. at 112, 114. Since then, the parties have conferred

multiple times on the schedule for the litigation and the scope of anticipated discovery to bring all




1
  Plaintiffs in League of United Latin American Citizens et al. v. Executive Office of the President
et al., No. 25-cv-0946, are League of United Latin American Citizens, Secure Families Initiative,
and Arizona Students’ Association (“LULAC Plaintiffs”). Plaintiffs in League of Women Voters
Education Fund et al. v. Trump et al., No. 25-cv-0955, are League of Women Voters Education
Fund, League of Women Voters of the United States, League of Women Voters of Arizona,
Hispanic Federation, National Association for the Advancement of Colored People, OCA-Asian
Pacific American Advocates, and Asian and Pacific Islander American Vote (“League Plaintiffs”).
Plaintiffs in Democratic National Committee et al. v. Trump et al., No. 25-cv-0952, are the
Democratic National Committee, Democratic Governors Association, Democratic Senatorial
Campaign Committee, Democratic Congressional Campaign Committee, U.S. Senate Minority
Leader Charles E. Schumer, and U.S. House of Representatives Minority Leader Hakeem S. Jeffries
(“Democratic Party Plaintiffs”).
                                                  2
       Case 1:25-cv-00946-CKK            Document 130         Filed 06/06/25       Page 3 of 19




claims in these cases to a prompt and final resolution. Defendants did not appeal the preliminary

injunction, have already answered two of three complaints, Doc. 123 & 124, and will answer the

third by tomorrow, see Doc. 122. Thus, the case is well on its way to final adjudication of the merits

of plaintiffs’ claims, particularly regarding the provisions currently enjoined.

       On June 3, 2025, more than two months after plaintiffs filed their complaints, and more than

a month after this Court granted a preliminary injunction, the Republican National Committee

(“RNC”) filed its motion to intervene. Doc. 125. Additionally, over two months ago, several States

also filed challenges to the EO. See California v. Trump, 25-cv-10810 (D. Mass. filed Apr. 3, 2025);

Washington v. Trump, 25-cv-0602 (W.D. Wash. filed Apr. 4, 2025). The RNC has not sought to

intervene in those cases, although the Republican Party of Arizona has participated as amicus in the

District of Massachusetts litigation.

       The motion to intervene should be denied in its entirety. To the extent that the Court does

allow intervention, its scope should be strictly limited to issues other than those relating to Sections

2, 3(d), and 4(a) of the Order. Such limits are needed to ensure that the RNC is not granted party

status as to issues where it has not even attempted to demonstrate an impairment of a legally

protected interest, as well as to prevent unnecessary delay and burdens on the existing parties and

the Court.


                                        LEGAL STANDARD

       A.      Intervention as of Right

       Federal Rule of Civil Procedure 24(a) governs intervention as a matter of right. Intervenors

as of right must demonstrate:

       (1) the timeliness of the motion;




                                                   3
       Case 1:25-cv-00946-CKK           Document 130         Filed 06/06/25      Page 4 of 19




       (2) whether the applicant claims an interest relating to the property or transaction
       which is the subject of the action;

       (3) whether the applicant is so situated that the disposition of the action may as a
       practical matter impair or impede the applicant’s ability to protect that interest; and

       (4) whether the applicant’s interest is adequately represented by existing parties.

Fund for Animals, Inc. v. Norton, 322 F.3d 728, 731 (D.C. Cir. 2003) (internal citations and

quotation marks omitted).

       This Court requires parties seeking to intervene under Rule 24(a)—including as defendant-

intervenors—to demonstrate that they have Article III standing. See Old Dominion v. FERC, 892

F.3d 1223, 1232 n.2 (D.C. Cir. 2018); Crossroads Grassroots Pol’y Strategies v. FEC, 788 F.3d

312, 316 (D.C. Cir. 2015); Fund for Animals, 322 F.3d at 731–32. “The standing inquiry for an

intervening-defendant is the same as for a plaintiff: the intervenor must show injury in fact,

causation, and redressability.” Crossroads, 788 F.3d at 316 (citing Deutsche Bank Nat’l Trust v.

FDIC, 717 F.3d 189, 193 (D.C. Cir. 2013)).

       B.      Permissive Intervention

       Federal Rule of Civil Procedure 24(b) governs permissive intervention. In exercising its

discretion to permit intervention, “the court must consider whether the intervention will unduly

delay or prejudice the adjudication of the original parties’ rights.” Fed. R. Civ. P. 24(b)(3).

       C.      Restrictions on Intervenor Participation

       Where intervention is granted, even as of right, district courts may impose limits and

restrictions upon the intervenor’s participation. Fund for Animals, 322 F.3d at 737 n. 11; see United

States v. Am. Tel. & Tel. Co., 642 F.2d 1285, 1291 (D.C. Cir. 1980). The ability to impose such

limits flows from the district court’s inherent case management power, and the court’s ability “to

prevent [a] single lawsuit from becoming fruitlessly complex or unending.’” Ctr. for Food Safety



                                                  4
         Case 1:25-cv-00946-CKK          Document 130         Filed 06/06/25       Page 5 of 19




v. EPA, No. 1:23-cv-1633-CKK, 2024 WL 1299338 at *3 (D.D.C. Mar. 26, 2024) (quoting Smuck

v. Hobson, 408 F.2d 175, 179 (D.C. Cir. 1969)).

                                            ARGUMENT

    I.      The RNC’s Motion to Intervene Fails to Satisfy the Requirements for
            Intervention as of Right.

         The RNC’s motion fails to satisfy each of the requirements for intervention as of right and

should accordingly be denied.

                A. The RNC Has Not Even Attempted to Demonstrate Article III Standing as
                   to Each Challenged Provision of the EO.

         Any intervenor—whether intervening as plaintiff or defendant—must demonstrate Article

III standing. Old Dominion, 892 F.3d at 1232 n.2; Crossroads, 788 F.3d at 316–17. Standing “turns

on whether [the RNC] alleges a sufficient injury in fact, which the Supreme Court has described as

including an invasion of a legally protected interest that is ‘concrete and particularized,’ and ‘actual

or imminent, not conjectural or hypothetical.’” Crossroads, 788 F.3d at 316–17 (quoting Lujan v.

Defs. of Wildlife, 504 U.S. 555, 560 (1992)). And again, “[t]he standing inquiry for an intervening-

defendant is the same as for a plaintiff.” Id. at 316. Thus, a defendant-intervenor must have standing

“for each claim that [it] press[es] and for each form of relief that [it] seek[s].” TransUnion LLC v.

Ramirez, 594 U.S. 413, 431 (2021); see also Doc. 104 at 41.

         The RNC fails to allege sufficient facts to show Article III standing and, in turn, to support

its intervention. Plaintiffs’ complaints in these cases address multiple provisions of the EO under

various legal claims.2 The RNC does not address the specifics of the challenged EO provisions in

any detail, nor does it attempt to tie the requirements of the challenged provisions to specific injuries



2
 All plaintiffs challenge Section 2(a), the Democratic Party Plaintiffs challenge Sections 2(b), 2(d),
3(a), 4(c), 4(d), and 5(b), and LULAC Plaintiffs and Democratic Party Plaintiffs challenge Sections
3(d), 4(a), 7(a), and 7(b).
                                                   5
       Case 1:25-cv-00946-CKK             Document 130         Filed 06/06/25       Page 6 of 19




that it will purportedly suffer if they are enjoined. Instead, it simply asserts broad interests in “voter

registration, get-out-the-vote, and election-integrity efforts.” Doc. 125, at 9. But that is insufficient

to establish Article III standing to intervene in these actions generally, as well as to intervene to

defend the specific provisions of the EO at issue.

        For example, the RNC asserts that “[e]njoining enforcement of . . . proof-of-citizenship

requirement[s]” would force it to divert resources to “poll-watching activities, [and] voter-roll

monitoring.” Doc. 125-1 (Decl. of Michael Ambrosini), ¶ 26. But these cases are not about

enjoining proof-of-citizenship requirements in the abstract. Through the Help America Vote Act,

Congress mandated that the Federal Voter Registration Form (the “Federal Form”) include two

specific questions, along with check boxes, for the applicant to indicate whether they meet U.S.

citizenship and age requirements to vote, as well as instructions not to complete the Federal Form

if the answer to either question is no. See 52 U.S.C. § 21083(b)(4)(A). That congressionally enacted

requirement is mandatory and unaffected by this litigation. The RNC makes no attempt to tie its

asserted interests and purported injury to the President’s unconstitutional instructions in the EO that

the EAC require specific forms of documentary proof of citizenship for the Federal Form.

        The same lack of specificity necessary to establish Article III standing is true with respect

to each of the other challenged EO provisions. Moreover, the RNC need not allocate its resources

any differently today than it did before the EO was issued or this litigation commenced. There has

never been a requirement to produce a passport or other citizenship document to register to vote

using the Federal Form. This Court’s preliminary injunction merely preserved this status quo. As

such, this Court should reject the RNC’s contention that it is entitled to intervention as of right.

                B. The Motion to Intervene Is Untimely.
        The motion should also be denied because it is untimely. To determine whether a motion to

intervene is timely, courts consider “all the circumstances, especially weighing the factors of time

                                                    6
          Case 1:25-cv-00946-CKK         Document 130        Filed 06/06/25      Page 7 of 19




elapsed since the inception of the suit, the purpose for which intervention is sought, the need for

intervention as a means of preserving the applicant’s rights, and the probability of prejudice to those

already parties in the case.” Karsner v. Lothian, 532 F.3d 876, 886 (D.C. Cir. 2008) (internal

quotations omitted).

          The RNC waited more than two months after three groups of plaintiffs filed suit in this

consolidated action, and more than a month after the Court adjudicated the motions for preliminary

injunction before moving to intervene. Indeed, the RNC waited to seek intervention until after

Defendants made substantive determinations about interlocutory appeal and initial decisions about

discovery. Doc. 119 at 5–6; Doc. 122. The RNC offers no explanation for its delay. Instead, it

premises its motion on its status as “a direct political competitor of the DNC.” Doc. 125 at 6. But

the RNC has surely been aware of its purported interest since the date the Democratic Party

Plaintiffs’ complaint was filed.3

          As discussed infra, the RNC does not have a legally cognizable interest in this litigation,

and thus its purpose for intervention appears to be directed solely at counteracting the interests of

its political rivals, the Democratic Party Plaintiffs. Such purpose does not support intervention here.

And, as also discussed infra, the RNC cannot show that its intervention is necessary to preserve its

rights.




3
 These lawsuits have been highly publicized. See, e.g., Deena Zaru, Civil Rights Groups Sue Trump
Over Executive Order Requiring Citizenship Proof in Registering to Vote, ABC News (Apr. 1,
2025),                https://abcnews.go.com/US/civil-rights-groups-sue-trump-executive-order-
requiring/story?id=120377609; Nidia Cavazos & Fin Daniel Gómez, LULAC Sues Trump
Administration Over Executive Order Aiming to Overhaul U.S. Elections, CBS News (Mar. 31,
2025),     https://www.cbsnews.com/news/lulac-sues-trump-administration-over-executive-order-
aiming-to-overhaul-u-s-elections/; Nick Corasaniti, Democrats Sue President Over Executive
Order         on       Elections,        N.Y.          Times        (Mar.         31,       2025),
https://www.nytimes.com/2025/03/31/us/politics/trump-executive-order-elections-lawsuit.html.
                                                   7
       Case 1:25-cv-00946-CKK            Document 130         Filed 06/06/25      Page 8 of 19




       The final timeliness factor also cuts against the RNC. Intervention is likely to prejudice the

parties already in the case. As referenced supra, the parties have already conferred several times to

discuss a schedule that would accommodate swift resolution of these actions. Another entrant

months after these cases were filed risks delaying the parties’ deliberations and undermining

judicial economy. At best, “[a]ny arguments or evidence that [the RNC] would offer ‘will be merely

cumulative to what [Defendants] will offer, and in that respect it may create unwarranted delay and

prejudice to Plaintiffs.’” Ctr. for Food Safety, 2024 WL 1299338, at *10 (quoting Env’t Def. Fund

v. Thomas, No. 85-cv-1747, 1985 WL 6050, at *7 (D.D.C. Oct. 29, 1985)). At worst, the proposed

answers foreshadow that the RNC may intend to invoke an inapposite affirmative defense. See infra

Part I.C. As in Center for Food Safety, “allowing [the RNC] to intervene would delay litigation,

prejudice Plaintiffs, and result in an inefficient use of judicial resources by broadening scope of

litigation beyond Plaintiffs’ Complaint, while not significantly contributing to the just and equitable

adjudication of the legal question presented.” 2024 WL 1299338, at *10.

       For these reasons and considering “all the circumstances,” Karsner, 532 F.3d at 886, the

Motion to Intervene should be denied.

               C. The RNC Has Not Asserted Legally Protected Interests That the Litigation
                  Would Impair.

       The RNC has asserted no legally protected interests implicated in these actions. Rule 24(a)’s

requirement that a putative intervenor have an interest in the action, is “satisfied not by any interest

the applicant can put forward, but only by a legally protectable one.” Ctr. for Food Safety, 2024

WL 1299338, at *7 (internal quotations and alternations omitted). A legally protectable interest is

“of such a direct and immediate character that the intervenor will either gain or lose by the direct

legal operation and effect of the judgment.” Id. (quoting Am. Tel. & Tel. Co., 642 F.2d at 1291–92).

Furthermore, there is no legally protected interest “when its asserted legal source . . . does not apply

                                                   8
       Case 1:25-cv-00946-CKK            Document 130         Filed 06/06/25      Page 9 of 19




or does not exist.” See Barhoumi v. Obama, 234 F. Supp. 3d 84, 86 (D.D.C. 2017) (citing Claybrook

v. Slater, 111 F.3d 904, 907 (D.C. Cir. 1997)).

       The RNC’s generalized interests in “election rules,” its desire to defend an out-of-circuit

opinion not at issue in these cases, and its apparent plan to raise a wholly inapplicable affirmative

defense do not meet Rule 24(a)’s demand for a legally protectable interest. None of these constitutes

“an interest relating to the subject of the action.” See Ctr. for Food Safety, 2024 WL 1299338, at

*7 (citing United States v. Philip Morris USA Inc., 566 F.3d 1095, 1146 (D.C. Cir. 2009)).

       First, the RNC asserts that it has a legally protected interest in this litigation because it is

“governed by the election rules set forth in the Executive Order and statutes it applies.” Doc. 125

at 13–14. But this statement elides what these cases are about. Intervenors are of course governed

by the statutes referenced in the EO, but those statutes are not challenged in these actions, so any

interests in the operation of those statutes will not be affected by the “direct operation and effect of

the judgment.” Instead, these suits are about the separation of powers, as plaintiffs challenge the

President’s attempt to regulate federal elections, a subject outside the scope of his constitutional

power. The RNC’s generalized invocations of an interest in “election regulations” writ large is

insufficient to establish a legally protectable interest here. Indeed, the very case the RNC cites made

plain that an intervenor must establish a “significant protectable interest” that is “protected under

some law,” and which has a “relationship [to] the plaintiff’s claims.” Issa v. Newsom, No. 2:20-cv-

01044-MCE-CKD, 2020 WL 3074351, at *2 (E.D. Cal. June 10, 2020) (citing United States v. City

of Los Angeles, 288 F.3d 391, 398 (9th Cir. 2002)). The RNC has failed to demonstrate that here.

       Second, the RNC’s lengthy discussion of RNC v. Wetzel, 120 F.4th 200 (5th Cir. 2024), as

it relates to LULAC Plaintiffs’ challenge to Section 7 of the EO is unavailing. Wetzel considered

whether Mississippi’s ballot receipt deadline conformed to federal law. Here, by contrast, this Court



                                                   9
       Case 1:25-cv-00946-CKK             Document 130           Filed 06/06/25    Page 10 of 19




has not been asked to consider the validity of any ballot receipt deadline. Rather, LULAC Plaintiffs

contest whether the President can order the Attorney General and the EAC to act based on the

President’s interpretation of the federal Election Day statutes. Doc. 104 at 97–98. 4 The issue in

Wetzel is thus not at stake in this litigation. Moreover, the RNC does not explain how this Court’s

judgment on LULAC Plaintiffs’ claims related to Section 7 of the Order is “of such a direct and

immediate character that the intervenor will either gain or lose” by such judgment. Ctr. for Food

Safety, 2024 WL 1299338, at *7 (quoting Am. Tel. and Tel. Co., 642 F.2d at 1291–92). The RNC’s

attached declaration asserts that it has “vital interests” in “protecting the ability of Republican voters

to cast, and Republican candidates to receive, effective votes in federal and state elections.” Doc.

125-1 ¶ 8. But none of the plaintiffs’ requested relief would impair the RNC’s ability to do these

things.

          Additionally—and critically—neither the motion nor the attached declaration discusses, in

substance, the requirement in Section 2(a) of the EO, that a documentary proof-of-citizenship

requirement be added to the Federal Form. Having failed to assert any legally protected interest in

this aspect of the litigation, the RNC should at minimum be precluded from intervening to defend

this portion of the Order, and any arguments otherwise are forfeited. Fund for Animals, 322 F.3d at

737 n.11; Al-Tamimi v. Adelson, 916 F.3d 1, 6 (D.C. Cir. 2019) (“A party forfeits an argument by

failing to raise it in [its] opening brief.”); see also infra Part III.

          Finally, the RNC’s invocation of the Purcell principle as an affirmative defense, Doc. 125-

3 at 20; Doc. 125-4 at 11, provides no basis for intervention, and indeed counsels against allowing

it. As this Court has already explained, the Purcell principle is concerned with maintaining the




4
  League Plaintiffs take no position on LULAC and Democratic Party Plaintiffs’ claims related to
the Order’s directive to “enforce” federal Election Day Statutes.
                                                     10
      Case 1:25-cv-00946-CKK            Document 130         Filed 06/06/25      Page 11 of 19




status quo, avoiding altering election rules close in time to an election, guarding state autonomy,

and ensuring that lower courts explain themselves when they weigh in on election regulations. Doc.

104 at 109–10. The EO tried to alter the status quo by intruding on the prerogative of Congress and

the States to set election regulations. This Court’s thoroughly explained preliminary injunction

largely maintained that status quo. The Purcell principle thus has no applicability here.

       Furthermore, while the Arizona special election has an upcoming registration deadline, Doc.

104 at 23–24, that election will take place under the current status quo, and plaintiffs are seeking a

permanent injunction of the Order for all future elections. Purcell is thus doubly inapposite since it

applies only to court decisions changing election rules as to fast-approaching elections. Merrill v.

Milligan, 142 S. Ct. 879, 880–81 (2022) (mem.) (Kavanaugh, J., concurring). The RNC cannot

establish its interest in this litigation based on a wholly inapposite affirmative defense. See Ctr. for

Food Safety, 2024 WL 1299338, at *7.

               D. The RNC Has Not Established Inadequate Representation.

       The RNC also fails to articulate protectable interests that are distinct or not already

adequately represented by Defendants. A presumption of adequate representation exists if “both the

intervenor and existing party have the same ultimate objective.” See Cobell v. Jewell, No. 96-cv-

01285, 2016 WL 10703793, at *2 (D.D.C. Mar. 30, 2016) (citations omitted). Such is the case here,

where the RNC shares the same objectives of defending the EO.

       Although the standard for inadequate representation is “not onerous,” Fund for Animals,

322 F.3d at 735 (quotation marks omitted), it is not met when “it is clear that the party will provide

adequate representation for the absentee.” Doe 1 v. Fed. Election Comm’n, No. 17-2694, 2018 WL

2561043, at *5 (D.D.C. Jan. 31, 2018) (quoting United States v. AT&T, 642 F.2d 1285, 1293 (D.C.

Cir. 1980)). Absent a showing that its interests are not adequately represented by Defendants, the

RNC’s motion must be denied. Sevier v. Lowenthal, 302 F. Supp. 3d 312, 323 (D.D.C. 2018).

                                                  11
      Case 1:25-cv-00946-CKK            Document 130        Filed 06/06/25       Page 12 of 19




       The RNC lists a variety of general public interests that parties already adequately represent,

thus failing to make the requisite showing of inadequacy. Doc. 125 at 11–13. Under the RNC’s

formulation, because any “[c]hanges to election rules necessarily impact the allocation of party

resources and campaign strategies,” the RNC has interests that are inadequately represented by

government entities whenever there is a change to election rules. Id. at 15–16. Yet it cannot be the

case that the intervention standard is so broad that any change of an election rule anywhere allows

the RNC to intervene as of right, especially where the core interests that the RNC cites are general

public interests. An entity “seeking to assert some general public interest in a suit in which a public

authority charged with the vindication of that interest is already a party” does not provide grounds

to intervene in a case. Doe 1, 2018 WL 2561043, at *5 (citing Cascade Nat. Gas Corp. v. El Paso

Nat. Gas Co., 386 U.S. 129, 149–50 (1967)).

       Here, the RNC claims that “[e]njoining the election integrity provisions” of the EO “would

remove measures” protecting the right to “participate in fair and honest federal elections.” Doc. 125

at 12. But such arguments by Republican committees have been rejected repeatedly as insufficient

to support intervention. See, e.g., Common Cause R.I. v. Gorbea, No. 1:20-cv-00318-MSM-LDA,

2020 WL 4365608, at *5 (D.R.I. July 30, 2020) (rejecting state Republican Party’s rationale “to see

that existing laws remained enforced” because “[t]hat is the same interest the defendant agencies

are statutorily required to protect”); see also Resp. in Opp’n to Intervention Mot. at 8–9, Republican

Nat’l Comm. v. Benson, No. 1:24-cv-262, (W.D. Mich. Apr. 5, 2024), ECF No. 16 (RNC

emphasizing that “proposed intervenors fall far short of showing that the State’s interest will be

inadequate” because “the State represents the interests of voters” and “proposed intervenors have

no evidence [showing] that the State’s representation will be inadequate”). Moreover, Defendants’

representation is focused on precisely the same objectives as the RNC. In recent weeks, the



                                                  12
       Case 1:25-cv-00946-CKK          Document 130         Filed 06/06/25      Page 13 of 19




Department of Justice issued a memo revising the mission statement of the Voting Section of the

Civil Rights Division, asserting a new remit “to ensure free, fair, and honest elections unmarred by

fraud, errors, or suspicion” including a focus on ensuring that “only American citizens vote in U.S.

federal elections.” Nicholas Riccardi, Justice Department will switch its focus on voting and

prioritize Trump’s elections order, memo says, AP, May 3, 2025, https://apnews.com/article/trump-

justice-department-voting-rights-elections-fraud-0717d58a10daa11b3957d277a7ca8e0e. In the

same document, the Department stated its intent to “vigorously enforce” the EO. Id.

        The arguments that the RNC appears poised to make largely overlap with those that will be

raised by Defendants. That each will raise the “same legal theories and arguments,” only reinforces

that Defendants will adequately represent the RNC’s interests. Sevier, 302 F. Supp. 3d at 323.

        Lastly, any interest the RNC maintains in asserting the validity of the reasoning in RNC v.

Wetzel so as “to challenge post-election receipt of mail ballots,” Doc. 125 at 11, may be litigated in

other cases, not in this one. The question here is whether the President can order the Attorney

General and the EAC to take actions based on his interpretation of federal laws establishing the

date of Election Day. Order § 7. Defendants adequately represent the interests at stake in this

litigation.

        Because the RNC has failed to overcome the presumption of adequate representation and to

meet its burden to articulate distinct interests that are inadequately represented by Defendants, this

Court should deny the motion to intervene.




                                                 13
             Case 1:25-cv-00946-CKK         Document 130        Filed 06/06/25      Page 14 of 19




       II.      The Court Should Also Deny RNC’s Motion for Permissive Intervention.

             The RNC has not demonstrated that its participation is either necessary or helpful to resolve

these cases. To the contrary, the RNC’s participation would impose unnecessary burdens on both

the parties and the Court and should accordingly be denied.

             “[P]ermissive intervention is an inherently discretionary enterprise,” EEOC v. Nat’l

Children’s Ctr., Inc., 146 F.3d 1042, 1046 (D.C. Cir. 1998), and “the court enjoys considerable

discretion under Rule 24(b),” Env’t. Def. v. Leavitt, 329 F. Supp. 2d 55, 66 (D.D.C. 2004). “District

courts have the discretion . . . to deny a motion for permissive intervention even if the movant

established an independent jurisdictional basis, submitted a timely motion, and advanced a claim

or defense that shares a common question with the main action.” EEOC, 146 F.3d at 1048. Indeed,

“[r]eversal of a district court’s denial of permissive intervention is a very rare bird . . . so seldom

seen as to be considered unique.” United States v. Pitney Bowes, Inc., 25 F.3d 66, 73 (2d Cir. 1994).

             This Court has already correctly held “that the President has no constitutional power over

election regulation that would support [his] unilateral exercise of authority” that conflicts with

statutes enacted by Congress. Doc. 104 at 71. Defendants will continue defend the EO as the actions

proceed. But this Court is fully entitled to exercise the “wide latitude” that it enjoys and deny

permissive intervention where Proposed Intervenor, at best, seeks only to echo “the same flawed

arguments” as other parties. Sevier, 302 F. Supp. 3d at 323. Of course, Nonpartisan Plaintiffs would

have no objection to the RNC’s participation as amicus on whatever discrete legal issues it wishes

to brief.

III.         Alternatively, if the Court Permits Intervention, it Should Limit the RNC’s
             Participation to its Asserted Interests and Exclude it From Litigating Sections 2, 3(d),
             and 4(a) of the Order.

             If the Court permits the RNC to intervene—whether as a matter of right or through the

Court’s discretion—it should confine the RNC’s participation to the issues on which it at least
                                                      14
      Case 1:25-cv-00946-CKK           Document 130        Filed 06/06/25      Page 15 of 19




attempted to articulate a cognizable interest. 5 District courts may impose appropriate conditions

upon an intervenor’s participation, regardless of whether they allow a movant to intervene

permissively or as a matter of right. See Fund for Animals, 322 F.3d at 737 n.11. In either scenario,

“the limited nature of the intervenor’s interest [may] determin[e] the scope of intervention that

should be allowed.” Am. Tel. & Tel. Co., 642 F.2d at 1291; see also Harris v. Pernsley, 820 F.2d

592, 599 (3d Cir. 1987) (applicant “may have a sufficient interest to intervene as to certain issues

. . . without having an interest in the litigation as a whole”). Or in the case of permissive

intervention, it may reflect a court’s judgment that limitations are practical “in order to minimize

the delay and prejudice to the existing parties.” Nationwide Mut. Ins. Co. v. Nat’l REO Mgmt., Inc.,

205 F.R.D. 1, 7 (D.D.C. 2000). Both reasons for limiting intervention apply here.

       If the Court permits intervention, the RNC’s participation should be circumscribed to issues

on which the RNC has, at a minimum, tried to articulate a legally protected interest. To be sure, the

RNC has failed to do so for any of the EO provisions that the Nonpartisan Plaintiffs challenge. The

RNC focuses the brunt of its motion on Section 7(a) of the Executive Order, which relates to post-

election day ballot receipt deadlines. See supra Part I.C. But the RNC has not even tried to assert a

specific interest concerning Sections 2, 3(d), and 4(a) of the Executive Order, which are also

challenged in one of the Nonpartisan Plaintiffs’ cases.

       For example, Section 2(a) relates to the President’s now-enjoined attempt to force the EAC

to require documentary proof of citizenship with the Federal Form. As plaintiffs have argued—and

this Court has held—the President has neither express nor implied authority to command the EAC




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  If the RNC is permitted to intervene, irrespective of the scope of intervention, the Court should
hold the RNC to its commitment that it will submit all filings in accordance with whatever briefing
schedule and procedural orders (including those related to discovery) the Court imposes. Doc. 125
at 13, 18.
                                                 15
      Case 1:25-cv-00946-CKK           Document 130         Filed 06/06/25      Page 16 of 19




this way. Doc. 104 at 65–83. Nor does the RNC have a cognizable interest in defending the

President’s unlawful action. Indeed, the RNC’s motion musters only one offhanded mention of

Section 2(a), baldly declaring it to be of “particular significance.” Doc. 125 at 9. But the RNC

doesn’t explain what interest it has in Section 2(a) or why that interest isn’t protected by the

government lawyers who have already defended that provision before this Court. See supra Part

I.C-D. The RNC does not reference—let alone state an interest in defending—Sections 3(d) or 4(a)

of the Executive Order at all. If the RNC is allowed to intervene, the Court should therefore limit

the RNC’s participation to Section 7(a) of the Executive Order.

       In terms of timing, delay, and prejudice, the RNC seeks to duplicate Defendants’ efforts to

defend the Executive Order, including Section 2(a), which has already been comprehensively

briefed. But courts strongly disfavor these “piling on” tactics precisely because of the “delay or

prejudice” they inevitably impose on both parties and the courts. Massachusetts v. Microsoft Corp.,

373 F.3d 1199, 1235 (D.C. Cir. 2004). That concern is of particular importance here, where the

issue of Section 2(a) has already been extensively briefed, argued, and adjudicated in preliminary

injunction proceedings, and plaintiffs seek to move quickly to permanently enjoin its enforcement.

There is no reason that amicus participation at this point would not suffice for any (unstated) points

that the RNC would like to offer. See 7C Wright & Miller, Fed. Prac. & Proc. Civ. 3d § 1913 (2025)

(noting “common practice to allow [] applicant to file a brief amicus curiae” when “court determines

to deny intervention”).

       For the reasons stated supra, the RNC falls far short of meeting the standard for intervention

as a matter of right. But even if the Court considers it proper to allow the RNC to participate in the

case under Rule 24(b), it should not allow the RNC to defend Sections 2, 3(d), or 4(a) of the

Executive Order. See Stringfellow v. Concerned Neighbors in Action, 480 U.S. 370, 382 n.1 (1987)



                                                 16
      Case 1:25-cv-00946-CKK             Document 130      Filed 06/06/25       Page 17 of 19




(Brennan, J., concurring) (noting “highly restrictive conditions may be . . . placed on a permissive

intervenor, because [they lack] a statutory right to intervene []or any interest . . . that the other

parties will not adequately protect”).

Dated: June 6, 2025                                   Respectfully submitted,

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                                                 17
       Case 1:25-cv-00946-CKK     Document 130    Filed 06/06/25    Page 18 of 19




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                                         18
Case 1:25-cv-00946-CKK   Document 130    Filed 06/06/25   Page 19 of 19




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                                19
